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       JONATHAN D. GOTTLIEB (State Bar No. 339650)
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  6

  7    Attorneys for Chapter 11
       Debtor and Debtor in Possession
  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
 11
                                                       )   Chapter 11 Case
 12   ESCADA AMERICA LLC,                              )
                                                       )   DEBTOR’S NOTICE OF MOTION AND
 13             Debtor and Debtor in Possession.       )   MOTION FOR AN ORDER
                                                           AUTHORIZING DEBTOR TO ENTER
                                                       )   INTO AGREEMENT TO TERMINATE
 14                                                    )   LEASE, PERMIT LANDLORD TO
 15                                                    )   RECOVER SECURITY DEPOSIT, AND
                                                       )   RELEASE CLAIM AGAINST DEBTOR
                                                       )   AND THE ESTATE; MEMORANDUM
 16                                                        AND AUTHORITIES IN SUPPORT
                                                       )   THEREOF; DECLARATION OF
 17                                                    )   KEVIN WALSH IN SUPPORT
                                                       )   THEREOF
 18                                                    )   [Landlord: 693 Fifth Owner LLC]
 19                                                    )
                                                       )   Hearing:
 20                                                    )   Date: September 14, 2022
                                                       )   Time: 10:00 a.m.
 21                                                    )   Place: Courtroom 1539
                                                       )          255 East Temple Street
 22                                                    )          Los Angeles, CA 90012
 23                                                    )
                                                       )   Hearing to be held in-person and by video-
 24                                                    )   conference Government Zoom, see Court’s
                                                       )   website under “Telephonic Instructions” for
 25                                                    )   more details:
                                                       )   https://www.cacb.uscourts.gov/judges/honor
 26
                                                       )   able-sheri-bluebond
 27                                                    )
                                                       )
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  1             PLEASE TAKE NOTICE that a hearing will be held on September 14, 2022, at 10:00

  2    a.m. before the Honorable Sheri Bluebond, United Stated Bankruptcy Judge for the Central

  3    District of California, in Courtroom 1539 located at 255 East Temple Street, Los Angeles,

  4    California 90012 for the Court to consider “Debtor’s Notice of Motion and Motion for an Order

  5    Authorizing Debtor to Enter into Agreement to Terminate Lease, Permit Landlord to Recover

  6    Security Deposit, and Release Claim Against Debtor and the Estate” (the “Motion”) filed by

  7    Escada America LLC, a Delaware limited liability company (the “Debtor”), the debtor and

  8    debtor-in-possession in the above referenced chapter 11 bankruptcy case.

  9             On July 19, 2018, the Debtor entered into that certain “Agreement of Lease” (the

 10    “Agreement”) as amended by the “First Amendment to Agreement of Lease” dated October 9,

 11    20202, but effective as of April 1, 2020 (the “First Amendment” and with the Agreement,

 12    together, the “Lease”), with 693 Fifth Owner LLC, a Delaware limited liability company (the

 13    “Landlord”), for the Debtor’s lease of the entire sixth floor of the building located at 693 Fifth

 14    Avenue, New York, NY (the “Premises”). The term of the lease expires May 31, 2029. A true

 15    and correct copy of the Lease is attached as Exhibit “1” hereto.

 16             The Debtor and Landlord have entered into a “Lease Termination and Surrender

 17    Agreement” (the “Termination Agreement”), dated July 12, 2022, subject to Court approval by

 18    way of this Motion. A true and correct copy of the Termination Agreement is attached as

 19    Exhibit “2” hereto.

 20             The most salient and key term of the Termination Agreement is that the Lease is being

 21    terminated such that Landlord will have an allowed claim and authorization to collect the

 22    security deposit of $192,582, but otherwise will not have any lease rejection damages claim or

 23    any other claim against the Debtor or the Debtor’s estate. (Although the Termination Agreement

 24    has an “outside date” of August 24, 2022, to obtain an order approving the Termination

 25    Agreement, the Landlord has agreed to extend that outside date by one month to September 24,

 26    2022.)
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  1             The Debtor scheduled the Landlord as holding a prepetition unsecured claim in the

  2    amount of $1,641.00. According to the Debtor’s calculations, if the Debtor were to reject the

  3    Lease pursuant to 11 U.S.C. § 365, the resulting lease rejection damages claim under 11 U.S.C.

  4    § 502(b)(6) would be approximately $476,642.24. After allowing the Landlord’s recovery of

  5    the security deposit (to which the Debtor does not have any colorable objection), the Landlord

  6    would have a remaining general unsecured claim of approximately $284,060.24, which the

  7    Landlord is agreeing to waive in favor of the Debtor and the estate. The Debtor’s calculations

  8    are summarized in the attached Exhibit “3” hereto.

  9             The Debtor respectfully submits that the Termination Agreement, as a compromise,

 10    should be approved by the Court under Rule 9019 of the Federal Rules of Bankruptcy Procedure.

 11    The matter is not complex or difficult. If forced to litigate, the Debtor does not believe it could

 12    obtain any better result, and, litigation would only add to administrative expenses with a net

 13    loss, and there is nothing for the Debtor to collect, even if it could somehow otherwise prevail.

 14    The Termination Agreement is a great result for the estate and all creditors by eliminating estate

 15    liability. Accordingly, the Motion should be granted.

 16             PLEASE TAKE FURTHER NOTICE that this Motion is based upon Rule 9013-1 of

 17    the Local Bankruptcy Rules for the Central District of California (“LBR”), Rules 9013 and 9019

 18    of the Federal Rules of Bankruptcy Procedure (“FRBP”), 11 U.S.C. §§ 105(a), 363 365, and

 19    502, this Motion, the supporting Memorandum of Points and Authorities, the annexed

 20    Declaration of Kevin Walsh (the “Declaration”), the arguments and statements of counsel to be

 21    made at the hearing on this Motion, and other admissible evidence properly brought before the

 22    Court.

 23             PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-

 24    1(f), any opposition to this Motion must be filed with the Clerk of the United States Bankruptcy

 25    Court and served upon the United States Trustee as well as counsel for the Debtor at the address

 26    located in the upper left-hand corner of the first page of this Notice and Motion by no later than
 27    fourteen (14) days before the hearing on this Motion.

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  1           PLEASE TAKE FURTHER NOTICE that the failure to file and serve a timely

  2    response to this Motion may be deemed by the Court to be consent to the granting of the relief

  3    requested in this Motion.

  4           PLEASE TAKE FURTHER NOTICE that the failure to file and serve a timely

  5    response to this Motion may be deemed by the Court to be consent to the granting of the relief

  6    requested in this Motion.

  7          WHEREFORE, the Debtor respectfully requests that this Court enter an order:

  8          (1)    affirming the adequacy of the notice of the Motion;

  9          (2)    granting the Motion in its entirety;

 10          (3)    authorizing the Debtor to enter into the Termination Agreement;

 11          (4)    terminating the Lease without rejection;

 12          (5)    permitting the Landlord to collect the security deposit in the amount of

 13                 $192,582.00;

 14          (6)    disallowing any other claim that the Landlord may have against the Debtor or the

 15                 Debtor’s estate; and

 16          (7)    granting such further and other relief as the Court deems just and proper.

 17    Dated: August 22, 2022                      ESCADA AMERICA LLC
 18
                                           By: ___/s/ John-Patrick M. Fritz__________
 19                                              JOHN-PATRICK M. FRITZ
                                                 JONATHAN D. GOTTLIEB
 20                                              LEVENE, NEALE, BENDER,
                                                 YOO & GOLUBCHIK L.L.P.
 21
                                                 Attorneys for Chapter 11
 22                                              Debtor and Debtor in Possession

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  1                       MEMORANDUM OF POINTS AND AUTHORITIES

  2                                    I.     STATEMENT OF FACTS

  3    A.     Case Background.

  4           1.     The Debtor commenced its bankruptcy case by filing a voluntary petition under

  5    chapter 11 of the Bankruptcy Code on January 18, 2022 (the “Petition Date”). The Debtor

  6    continues to manage its financial affairs, operate its business, and administer its bankruptcy

  7    estate as a debtor in possession.

  8           2.     The Debtor was formed as a Delaware limited liability company in 2009. The

  9    Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its

 10    main office in Beverly Hills, California, an office New York City, New York, and, as of the

 11    Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50

 12    fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, later

 13    rejected two more leases by way of motion, another two leases ended on their own terms, and

 14    now the Debtor is operating at one location with approximately 4 employees in its corporate

 15    office and 6 employees in the store.

 16           3.     The Debtor’s retail business is generally known to the public and branded as

 17    “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any

 18    intellectual property rights in connection with the “Escada” brand. For several decades, Escada

 19    had been a global retail brand for high-fashion, high-end, ready-to-wear apparel for women,

 20    with an emphasis on high-fashion evening wear. On a global scale, Escada has various retail

 21    stores and subsidiaries in several countries in Europe, including but not limited to Spain,

 22    England and Germany. Escada also has retail stores in North America, including the Debtor,

 23    which operates Escada’s brick-and-mortar retail business only in the United States.

 24           4.     By 2019, the Escada business on a global scale was in deep distress and could not

 25    continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

 26    company, was acquired by new ownership (which is now the current ownership and
 27    management). At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in

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  1    22 countries, all of which were financially distressed. In December 2019, the Debtor devised

  2    and began implementation of a plan to turn around the United States Escada retail business.

  3    Debtor believed that the business could be operated at a profit if fundamental business-model

  4    changes were implemented, such as overhauling the Debtor’s technological suite and reducing

  5    speed to market by shifting supply chains from Asia to Europe. Debtor’s turnaround plan was

  6    also contingent upon Debtor’s ability to sell product at Debtor’s physical locations because

  7    ecommerce sales were minimal. However, what was not – and could not be – known at the time

  8    of the acquisition in November 2019, was that an unprecedented, global, catastrophic, and life-

  9    changing event with severe economic consequences was on the immediate horizon – the Covid-

 10    19 pandemic.

 11            5.      In December 2019, just one month after the acquisition and just as the Debtor’s

 12    transformation plan was being put into effect, the novel corona virus, known to us now as Covid-

 13    19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world. From

 14    December 2019 through February 2020, the Debtor prepared to implement a number of

 15    business-model and operational changes. However, in March 2020, the world drastically

 16    changed, and set the Debtor on course for this current bankruptcy filing. On or about March 15,

 17    2020, the City of Los Angeles declared a state of emergency with shelter in place orders. In the

 18    following days, many business and financial centers across the United States came to a near

 19    total standstill as the nation was gripped by the Covid-19 crisis. In the span of just 12 days, all

 20    fifteen (15) of the Debtor’s then-active stores in eight (8) States were shuttered due to lockdown

 21    restrictions.

 22            6.      In late March 2020, the United States federal government responded with historic

 23    economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to

 24    the economy, which may have bolstered the stock market’s recovery, but such economic

 25    stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from

 26    customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for
 27    any of these stimulus payments and was left with no support during these unprecedented times.

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  1    In addition, as long as the pandemic lockdowns continued and stores remained closed, or

  2    shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-

  3    19 recession for retail businesses would continue.

  4           7.     From March 2020 to December 2021, the Debtor reduced its overhead expenses

  5    by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for

  6    rent relief at all store locations. Nonetheless, the 21 months leading up to the Debtor’s petition

  7    date were a marked state of tremendous uncertainty for the world’s health and economic affairs

  8    brought on by an unprecedented pandemic, followed by an unprecedented recession, then

  9    unprecedented trillions of dollars of government aid, none of which has prevented the ongoing

 10    uncertainty posed by Covid-19 variants and the attendant on-again-off-again lockdowns across

 11    the nation and around the world, all of which made business in the current economic

 12    environment very difficult.

 13           8.     The Debtor negotiated workouts with some, but not all, of its various landlords

 14    during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

 15    forced to file bankruptcy to restructure its business affairs. The Debtor could not survive

 16    ongoing litigation with these landlords and the attendant litigation costs and potential liability

 17    for breach of those leases. Accordingly, the Debtor determined that it was in the best interest of

 18    its estate to file this current bankruptcy case to preserve the going-concern value of its business

 19    and save the jobs of its employees.

 20    B.     The Lease and the Termination Agreement
 21           9.     On July 19, 2018, the Debtor entered into that certain “Agreement of Lease” (the
 22    “Agreement”) as amended by the “First Amendment to Agreement of Lease” dated October 9,
 23    20202, but effective as of April 1, 2020 (the “First Amendment” and with the Agreement,
 24    together, the “Lease”), with 693 Fifth Owner LLC, a Delaware limited liability company (the
 25    “Landlord”), for the Debtor’s lease of the entire sixth floor of the building located at 693 Fifth
 26    Avenue, New York, NY (the “Premises”). The term of the lease expires May 31, 2029. A true
 27    and correct copy of the Lease is attached as Exhibit “1” hereto.
 28

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  1           10.    The Debtor and Landlord have entered into a “Lease Termination and Surrender

  2    Agreement” (the “Termination Agreement”), dated July 12, 2022, and subject to Court approval

  3    by way of this Motion. A true and correct copy of the Termination Agreement is attached as

  4    Exhibit “2” hereto.

  5           11.    The most salient and key term of the Termination Agreement is that the Lease is

  6    being terminated such that Landlord will have an allowed claim and authorization to collect the

  7    security deposit of $192,582, but otherwise will not have any lease rejection claim and therefore

  8    will not have any other claim against the Debtor or the Debtor’s estate. (Although the

  9    Termination Agreement has an “outside date” of August 24, 2022, to obtain an order approving

 10    the Termination Agreement, the Landlord has agreed to extend that outside date by one month

 11    to September 24, 2022.)

 12           12.    The Debtor scheduled the Landlord as holding a prepetition unsecured claim in

 13    the amount of $1,641.00. According to the Debtor’s calculations, if the Debtor were to reject

 14    the Lease pursuant to 11 U.S.C. § 365, the resulting lease rejection damages claim under 11

 15    U.S.C. § 502(b)(6) would be approximately $476,642.24. After allowing the Landlord’s

 16    recovery of the security deposit (to which the Debtor does not have any colorable objection),

 17    the Landlord would have a remaining general unsecured claim of approximately $284,060.24,

 18    which the Landlord is agreeing to waive in favor of the Debtor and the estate. Attached as

 19    Exhibit “3” hereto is a calculation of the rejection claim.

 20           13.     The Debtor has evaluated the market and believes that the Lease rent rate is over

 21    market, particularly as it was signed in 2018 in a pre-Covid-19 environment, and now the

 22    commercial real estate market in New York City is significantly lower due to more remote-work

 23    models, making the Debtor’s prepetition Lease terms unattractive compared to the current

 24    market for lessees. Therefore, the Debtor believes that there is no value in attempting to assume

 25    and assign the Lease.

 26                                         II.    DISCUSSION
 27          A. Standard for Approving the Termination Agreement as a Compromise

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  1           Rule 9019 of the Federal Rules of Bankruptcy Procedure states that “the court may

  2    approve a compromise or settlement.” FED.R.BANKR.P. 9019(a). The decision of whether a

  3    compromise or settlement should be accepted or rejected lies within the sound discretion of the

  4    Court. In re Carson, 82 B.R. 847, 852 (Bankr. S.D. Ohio 1987); In re Hydronic Enterprise,

  5    Inc., 58 B.R. 363, 365 (Bankr. D.R.I. 1986); In re Mobile Air Drilling Co., Inc., 53 B.R. 605,

  6    607 (Bankr. N.D. Ohio 1985); Knowles v. Putterbaugh (In re Hallet), 33 B.R. 564, 565 (Bankr.

  7    D. Me. 1983).

  8           Sound discretion is judicial power exercised fairly and equitably. As the Supreme Court

  9    noted, the term “discretion” denotes the absence of a hard and fast rule:

 10                  When invoked as a guide to judicial action, it means a sound
 11                  discretion, that is to say, a discretion exercised not arbitrarily or
                     willfully, but with regard to what is right and equitable under the
 12                  circumstances and the law, and directed by the reasonableness and
                     conscience of the judge to a just result.
 13

 14    Langnes v. Green, 282 U.S. 531, 541 (1931). Correspondingly, the Ninth Circuit has recognized
 15    that “the bankruptcy court has great latitude in approving settlements.” In re Woodson, 839
 16    F.2d 610,620 (9th Cir. 1988). It is well-established that, as a matter of public policy, settlements
 17    are favored over continued litigation. See, e.g., In re A & C Properties, 784 F.2d 1377 (9th Cir.
 18    1986); In re Blair, 538 F.2d 849, 851 (9th Cir. 1976); In re Heissenger Resources, Ltd., 67 B.R.
 19    378, 382 (C.D. Ill. 1986).
 20           The focus of inquiry in reviewing and approving compromises is whether the settlement
 21    is reasonable under the particular circumstances of the case. See In re General Store of Beverly
 22    Hills, 11 B.R. 539 (9th Cir. BAP 1981). It is not the bankruptcy judge’s responsibility to decide
 23    the numerous questions of law and fact with respect to the merits of the litigation, but rather to
 24    “canvas the issues and see whether the settlement falls below the lowest point of the range of
 25    reasonableness.” Heissenger Resources, 67 B.R. at 383. Among the factors to be considered in
 26    determining whether a settlement is fair, equitable and reasonable are the following:
 27
                             (1)     the probability of success in the litigation;
 28

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  1                          (2)     any impediments to collection;

  2                          (3)     the complexity, expense, inconvenience and

  3                          delay of litigation; and

  4                          (4)     the interest of creditors with deference to

  5                          their reasonable opinions.

  6
       A & C Properties, 784 F.2d at 1381. From an analysis of the foregoing factors in this case, the
  7
       Court should conclude that the terms of the compromise set forth in the Termination Agreement
  8
       is fair and equitable and well within the range of reasonableness.
  9
              The most salient and key term of the Termination Agreement is that the Lease is being
 10
       terminated such that Landlord will have an allowed claim and authorization to collect the
 11
       security deposit of $192,582, but otherwise will not have any lease rejection claim and therefore
 12
       will not have any other claim against the Debtor or the Debtor’s estate.
 13
              The Debtor scheduled the Landlord as holding a prepetition unsecured claim in the
 14
       amount of $1,641.00. According to the Debtor’s calculations, if the Debtor were to reject the
 15
       Lease pursuant to 11 U.S.C. § 365, the resulting lease rejection damages claim under 11 U.S.C.
 16
       § 502(b)(6) would be approximately $476,642.24. After allowing the Landlord’s recovery of
 17
       the security deposit (to which the Debtor does not have any colorable objection), the Landlord
 18
       would have a remaining general unsecured claim of approximately $284,060.24, which the
 19
       Landlord is agreeing to waive in favor of the Debtor and the estate.
 20
             B. The Landlord’s Secured Claim Right to the Security Deposit
 21
              The matter underlying this compromise is not complex or difficult. Section 502(b)(6)
 22
       caps a landlord’s claim in bankruptcy for damages resulting from the termination of a real
 23
       property lease. Solow v. PPI Enter’s (U.S.), Inc. (In re PPI Enter’s (U.S.), Inc.), 324 F.3d 197,
 24
       207 (3d Cir.2003). A security deposit, or letter of credit serving as a security deposit, should be
 25
       applied to pay the landlord’s damages claim after the claim is capped by 11 U.S.C. § 502(b)(6).
 26
       Id. at 208. Because the Landlord’s § 502(b)(6) capped claim will exceed the security deposit
 27
       by hundreds of thousands of dollars, there is nothing for the Debtor to collect from the Landlord,
 28

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  1    and, if litigated, the likely result would be an additional $284,060.24 or more of general

  2    unsecured debt on the estate. The Termination Agreement is a great result in the best interest

  3    of the estate and creditors and should be approved.

  4          C. The Waiver of the Landlord’s Remaining Unsecured Lease Rejection Claim

  5           Section 502(b)(6) operates to limit a landlord’s claim based on a commercial lease so as

  6    to prevent such claims from overburdening the bankruptcy estate at the expense of all other

  7    creditors. Saddleback Valley Comm. Church v. El Toro Materials Co., Inc. (In re El Toro

  8    Materials Co., Inc.), 504 F.3d 978, 979-80 (9th Cir.2007). Section 502 provides, in pertinent

  9    part, as follows:

 10
                     (a)    A claim or interest, proof of which is filed under section 501
 11                         of this title, is deemed allowed unless a party in interest . . .
 12                         objects.

 13                  (b)    . . . if such objection to a claim is made, the court, after notice
                            and a hearing, shall determine the amount of such claim in
 14                         lawful currency of the United States as of the date of the
                            filing of the petition, and shall allow such claim in such
 15
                            amount, except to the extent that –
 16
                                              ***
 17
                            (6)     if such claim is the claim of a lessor for damages
 18                                 resulting from the termination of a lease of real
                                    property, such claim exceeds –
 19

 20                                 (A)      the rent reserved by such lease, without
                                             acceleration, for the greater of one year, or
 21                                          15 percent, not to exceed three years, of the
                                             remaining term of such lease, following
 22
                                             (i)     the date of the filing of the petition;
 23
                                                     and
 24
                                             (ii)    the date on which such lessor
 25                                                  repossessed,      or    the     lessee
                                                     surrendered, the leased property; plus
 26
 27

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  1                                  (B)     any unpaid rent due under such lease,
                                             without acceleration, on the earlier of such
  2                                          dates;
  3
                                              ***
  4
       11 U.S.C. § 502. Absent an absurd result, the court must interpret section 502(b)(6) according
  5
       to its plain language. In re El Toro Materials Co., 504 F.3d at 981; Wall Street Plaza v. JSJF
  6
       Corp. (In re JSJF Corp.), 344 B.R. 94, 101 (9th Cir.B.A.P.2006) (citing U.S. v. Ron Pair Enters.,
  7
       489 U.S. 235, 241 (1989) and U.S. v. Lopez-Perera, 438 F.3d 932, 933-34 (9th Cir.2006)).
  8
             The plain language of section 502(b)(6) requires a distinct two part analysis. First, as set
  9
       forth in the introductory paragraph of subsection 502(b)(6), the Court must analyze whether the
 10
       claim is “for damages resulting from termination of lease of real property.” After answering
 11
       this question in the affirmative, the Court then must limit, allow, and disallow the claim
 12
       according to the formula set forth in subsections 502(b)(6)(A) and (B).
 13
             Here, the Debtor anticipates surrendering the property on September 30, 2022. The
 14
       calculation of pre-termination rent under subsection 502(b)(6)(B) and post-termination rent
 15
       under subsection 502(b)(6)(A) turns on that date.        Attached as Exhibit “3” hereto is a
 16
       calculation of the rejection claim.
 17
             To calculate the allowed amount of the Claim under 11 U.S.C. § 502(b)(6)(A), the Court
 18
       must analyze (x) the rent reserved by the lease without acceleration for one year, (y) the rent
 19
       reserved by the lease without acceleration for 15% of the remaining term of the lease, and (z)
 20
       the rent reserved by the lease without acceleration for three years.
 21
             As can be seen from Exhibit 3, the rent reserved by the Lease without acceleration for one
 22
       year is $433,959.20. The rent reserved by the lease without acceleration for 15% of the
 23
       remaining term of the lease is $475,001.24 (three years of rent would be nearly $1.5 million).
 24
       The 15% calculation might be changed depending on whether 15% is applied to the term
 25
       remaining under the Lease or the dollars owed under the Lease. See 5 COLLIER ON BANKRUPTCY
 26
       ¶ 502.03[7][c] at 502-44 & 45 (Alan N. Resnick & Henry J. Sommer eds., 16th ed.); . In re
 27
       Heller Ehrman LLP, 2011 WL 635224 (N.D.Cal. 2011). However, the purpose of this Motion
 28

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  1    is not to precisely calculate the Landlord’s lease rejection § 502(b)(6) claim with exact precision,

  2    but instead to point out that the compromise in Termination Agreement is saving the estate

  3    approximately $284,060.24 in general unsecured claims, which is a great benefit to the estate.

  4    Thus, the Motion should be granted.

  5                                         III.   CONCLUSION

  6          WHEREFORE, the Debtor respectfully requests that this Court enter an order:

  7          (1)     affirming the adequacy of the notice of the Motion;

  8          (2)     granting the Motion in its entirety;

  9          (3)     authorizing the Debtor to enter into the Termination Agreement;

 10          (4)     terminating the Lease without rejection;

 11          (5)     permitting the Landlord to collect the security deposit in the amount of

 12                  $192,582.00;

 13          (6)     disallowing any other claim that the Landlord may have against the Debtor or the

 14                  Debtor’s estate; and

 15          (7)     granting such further and other relief as the Court deems just and proper.

 16    Dated: August 22, 2022                        ESCADA AMERICA LLC
 17

 18                                          By: __/s/ John-Patrick M. Fritz____________
                                                    JOHN-PATRICK M. FRITZ
 19                                                 JONATHAN D. GOTTLIEB
                                                    LEVENE, NEALE, BENDER,
 20
                                                    YOO & GOLUBCHIK L.L.P.
 21                                                 Attorneys for Chapter 11
                                                    Debtor and Debtor in Possession
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  1                               DECLARATION OF KEVIN WALSH
  2           I, Kevin Walsh, hereby declare as follows:

  3           1.     I have personal knowledge of the facts set forth below and, if called to testify,

  4    would and could competently testify thereto.

  5           2.     I am the Director of Finance for Escada America LLC, a Delaware limited liability

  6    company. (the “Debtor”), the debtor and debtor in possession in this chapter 11 bankruptcy case.

  7           3.     I am an experienced finance professional, having worked for the Debtor since

  8    2016 and with prior work experience at Fortune 500 companies including Johnson & Johnson

  9    (Controller/Director) and Pfizer (Finance Director).

 10           4.     I have reviewed and am familiar with and am knowledgeable about the books and

 11    records of the Debtor, which books and records are made in the regular practice of business,

 12    kept in the regular course of business, made by a person with knowledge of the events and

 13    information related thereto, and made at or near the time of events and information recorded.

 14           5.     I make this declaration in support of “the Debtor’s Notice of Motion and Motion

 15    for an Order Authorizing Debtor to Enter into Agreement to Terminate Lease, Permit Landlord

 16    to Recover Security Deposit, and Release Claim Against Debtor and the Estate” (the “Motion”).

 17           6.     The Debtor commenced its bankruptcy case by filing a voluntary petition under

 18    chapter 11 of the Bankruptcy Code on January 18, 2022 (the “Petition Date”). The Debtor

 19    continues to manage its financial affairs, operate its business, and administer its bankruptcy

 20    estate as a debtor in possession.

 21           7.     The Debtor was formed as a Delaware limited liability company in 2009. The

 22    Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its

 23    main office in Beverly Hills, California, an office New York City, New York, and, as of the

 24    Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50

 25    fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, later

 26    rejected two more leases by way of motion, another two leases ended on their own terms, and

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  1    now the Debtor is operating at one location with approximately 4 employees in its corporate

  2    office and 6 employees in the store.

  3           8.      The Debtor’s retail business is generally known to the public and branded as

  4    “Escada.” The Debtor uses the “Escada” brand via a license agreement and does not own any

  5    intellectual property rights in connection with the “Escada” brand. For several decades, Escada

  6    had been a global retail brand for high-fashion, high-end, ready-to-wear apparel for women,

  7    with an emphasis on high-fashion evening wear. On a global scale, Escada has various retail

  8    stores and subsidiaries in several countries in Europe, including but not limited to Spain,

  9    England and Germany. Escada also has retail stores in North America, including the Debtor,

 10    which operates Escada’s brick-and-mortar retail business only in the United States.

 11           9.      By 2019, the Escada business on a global scale was in deep distress and could not

 12    continue. At that time, the Debtor, together with other subsidiaries of Escada’s then-parent

 13    company, was acquired by new ownership (which is now the current ownership and

 14    management). At the time of the acquisition of Debtor in 2019, Escada had 29 subsidiaries in

 15    22 countries, all of which were financially distressed. In December 2019, the Debtor devised

 16    and began implementation of a plan to turn around the United States Escada retail business.

 17    Debtor believed that the business could be operated at a profit if fundamental business-model

 18    changes were implemented, such as overhauling the Debtor’s technological suite and reducing

 19    speed to market by shifting supply chains from Asia to Europe. Debtor’s turnaround plan was

 20    also contingent upon Debtor’s ability to sell product at Debtor’s physical locations because

 21    ecommerce sales were minimal. However, what was not – and could not be – known at the time

 22    of the acquisition in November 2019, was that an unprecedented, global, catastrophic, and life-

 23    changing event with severe economic consequences was on the immediate horizon – the Covid-

 24    19 pandemic.

 25           10.     In December 2019, just one month after the acquisition and just as the Debtor’s

 26    transformation plan was being put into effect, the novel corona virus, known to us now as Covid-
 27    19, was quietly spreading in certain regions of Asia, unbeknownst to the rest of the world. From

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  1    December 2019 through February 2020, the Debtor prepared to implement a number of

  2    business-model and operational changes with the goal of making the United States Escada retail

  3    business profitable and correct the mistakes of its prior management and prior owners.

  4    However, in March 2020, the world drastically changed, and set the Debtor on course for this

  5    current bankruptcy filing. On or about March 15, 2020, the City of Los Angeles declared a state

  6    of emergency with shelter in place orders. In the following days, many business and financial

  7    centers across the United States came to a near total standstill as the nation was gripped by the

  8    Covid-19 crisis. In the span of just 12 days, all fifteen (15) of the Debtor’s then-active stores in

  9    eight (8) States were shuttered due to lockdown restrictions.

 10           11.    In late March 2020, the United States federal government responded with historic

 11    economic aid, passing the CARES Act and providing approximately $3 trillion of stimulus to

 12    the economy, which may have bolstered the stock market’s recovery, but such economic

 13    stimulus did nothing to help retail businesses such as the Debtor, which rely on foot traffic from

 14    customer shopping in stores to generate sales. Unfortunately, the Debtor was not eligible for

 15    any of these stimulus payments and was left with no support during these unprecedented times.

 16    In addition, as long as the pandemic lockdowns continued and stores remained closed, or

 17    shoppers refrained from shopping due to deep concerns about their health and safety, the Covid-

 18    19 recession for retail businesses would continue.

 19           12.    From March 2020 to December 2021, the Debtor reduced its overhead expenses

 20    by an estimated $13,383,037.40 and entered into negotiations with its commercial landlords for

 21    rent relief at all store locations. Nonetheless, the 21 months leading up to the Debtor’s petition

 22    date were a marked state of tremendous uncertainty for the world’s health and economic affairs

 23    brought on by an unprecedented pandemic, followed by an unprecedented recession, then

 24    unprecedented trillions of dollars of government aid, none of which has prevented the ongoing

 25    uncertainty posed by Covid-19 variants and the attendant on-again-off-again lockdowns across

 26    the nation and around the world, all of which made business in the current economic
 27    environment very difficult.

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  1           13.    The Debtor negotiated workouts with some, but not all, of its various landlords

  2    during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

  3    forced to file bankruptcy to restructure its business affairs. The Debtor could not survive

  4    ongoing litigation with these landlords and the attendant litigation costs and potential liability

  5    for breach of those leases. Accordingly, the Debtor determined that it was in the best interest of

  6    its estate to file this current bankruptcy case to preserve the going-concern value of its business

  7    and save the jobs of its employees.

  8           14.    The Debtor commenced its bankruptcy case as a subchapter V case, which

  9    requires a plan to be filed within the first 90 days of the Petition Date, unless the Court extends

 10    the deadline for reasons for which the Debtor should not justly be held accountable.

 11    Accordingly, shortly after the first date of the 341 Meeting, the Debtor, through counsel,

 12    engaged in extensive and continuous discussions with some its largest creditors in an attempt to

 13    formulate a consensual plan of reorganization.

 14           15.    On July 19, 2018, the Debtor entered into that certain “Agreement of Lease” (the

 15    “Agreeement”) as amended by the “First Amendment to Agreement of Lease” dated October 9,

 16    20202, but effective as of April 1, 2020 (the “First Amendment” and with the Agreement,

 17    together, the “Lease”), with 693 Fifth Owner LLC, a Delaware limited liability company (the

 18    “Landlord”), for the Debtor’s lease of the entire sixth floor of the building located at 693 Fifth

 19    Avenue, New York, NY (the “Premises”). The term of the lease expires May 31, 2029. A true

 20    and correct copy of the Lease is attached as Exhibit “1” hereto.

 21           16.    The Debtor and Landlord have entered into a “Lease Termination and Surrender

 22    Agreement” (the “Termination Agreement”), dated July 12, 2022, and subject to Court approval

 23    by way of this Motion. A true and correct copy of the Termination Agreement is attached as

 24    Exhibit “2” hereto.

 25           17.    The most salient and key term of the Termination Agreement is that the Lease is

 26    being terminated such that Landlord will have an allowed claim and authorization to collect the
 27    security deposit of $192,582, but otherwise will not have any lease rejection claim and therefore

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  1    will not have any other claim against the Debtor or the Debtor’s estate. (Although the

  2    Termination Agreement has an “outside date” of August 24, 2022, to obtain an order approving

  3    the Termination Agreement, the Landlord has agreed to extend that outside date by one month

  4    to September 24, 2022.)

  5           18.    The Debtor scheduled the Landlord as holding a prepetition unsecured claim in

  6    the amount of $1,641.00. According to the Debtor’s calculations, if the Debtor were to reject

  7    the Lease, the resulting lease rejection damages would be approximately $476,642.24. After

  8    allowing the Landlord’s recovery of the security deposit (to which the Debtor does not have any

  9    colorable objection), the Landlord would have a remaining general unsecured claim of

 10    approximately $284,060.24, which the Landlord is agreeing to waive in favor of the Debtor and

 11    the estate. Attached as Exhibit “3” hereto is a calculation of the rejection claim.

 12           19.     The Debtor has evaluated the market and believes that the Lease rent rate is over

 13    market, particularly as it was signed in 2018 in a pre-Covid-19 environment, and now the

 14    commercial real estate market in New York City is significantly lower due to more remote-work

 15    models, making the Debtor’s prepetition Lease terms unattractive compared to the current

 16    market for lessees. Therefore, the Debtor believes that there is no value in attempting to assume

 17    and assign the Lease.

 18           Executed on this 22nd day of August 2022, at Manhattan, New York.

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 21                                                        KEVIN WALSH
 22                                                        Declarant

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                                  Exhibit 2
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          Fabrice Grasset
        President of Namlac Inc - Sole member
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                                  Exhibit 3
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Non-Priority Rejection Claim Amount                       $475,001.24
502(b)(6)(A)


Non-Priority Pre-Petition Claim Amount                      $1,641.00
502(b)(6)(B)


Subtotal 502(b)(6) Claim                                  $476,642.24

Security Deposit                                          $192,582.00

Remaining 502(b)(6) claim after secuirty deposit          $284,060.24
Claim waived by Landlord per Termination Agreement        $284,060.24


Petition Date                         1/18/2022
Lease Expiration Date                 5/31/2029
Lease Surrender Date                  9/30/2022

           Lease Yr Start       End        Months    Monthly    Annual Remaning
           Year 1*       Aug-18     Nov-19         0 $32,142.00              $0.00
           Year 2*       Dec-19     Nov-20         0 $32,784.84              $0.00
           Year 3*       Dec-20     Nov-21         0 $33,440.54              $0.00
           Year 4**      Dec-21     Nov-22         2 $35,570.35         $71,140.70
           Year 5        Dec-22     Nov-23        12 $36,281.75        $435,381.00
           Year 6        Dec-23     Nov-24        12 $37,007.39        $444,088.68
           Year 7        Dec-24     Nov-25        12 $39,695.50        $476,346.00
           Year 8        Dec-25     Nov-26        12 $40,489.42        $485,873.04
           Year 9        Dec-26     Nov-27        12 $41,299.25        $495,591.00
           Year 10       Dec-27     Nov-28        12 $42,125.25        $505,503.00
           Year 11       Dec-28     May-29         6 $42,125.25        $252,751.50
           Total Remaining                        80                $3,166,674.92
           15% Remaining                                               $475,001.24
           One Year                                                    $433,958.20

           * Years 1, 2, 3 already paid
           ** Year 4 presumes paying current through 9/30/2022, leaving 2 months.
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  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled Debtor’s Notice Of Motion And Motion For An
  4   Order Authorizing Debtor To Enter Into Agreement To Terminate Lease, Permit Landlord To Recover
      Security Deposit, And Release Claim Against Debtor And The Estate; Memorandum And Authorities In
  5   Support Thereof; Declaration Of Kevin Walsh In Support Thereof will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  6   below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8   hyperlink to the document. On August 22, 2022, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  9   to receive NEF transmission at the email addresses stated below:

 10                                                                           Service information continued on attached page

 11   2. SERVED BY UNITED STATES MAIL: On August 22, 2022, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 12   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 13
          Service information continued on attached page
 14
      The Honorable Sheri Bluebond                           693 Fifth Owner LLC                Tannenbaum Helpern Syracuse
 15   United States Bankruptcy Court                         c/o Savitt Partners, LLC           & Hirshchtritt LLP
      Central District of California                         Attn: Michael Dubin                Attn: Neil E. Botwinoff, Esq.
 16   Edward R. Roybal Federal Building and                  530 Seventh Avenue                 900 Third Avenue
      Courthouse                                             New York, NY 10018                 New York, NY 10022
 17   255 E. Temple Street, Suite 1534 /
      Courtroom 1539
 18   Los Angeles, CA 90012

 19
 20
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 21   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on August 22, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 22   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 23   mail to, the judge will be completed no later than 24 hours after the document is filed.

 24                                                                           Service information continued on attached page

 25   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 26
       August 22, 2022                     Jason Klassi                                  /s/ Jason Klassi
 27    Date                                   Type Name                                  Signature

 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1
  2   2:22-bk-10266-BB Notice will be electronically mailed to:

  3   Dustin P Branch on behalf of Creditor The Macerich Company
      branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
  4
      John C Cannizzaro on behalf of Creditor 717 GFC LLC
  5   john.cannizzaro@icemiller.com, julia.yankula@icemiller.com

  6   Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
      mdarlow@pbfcm.com, tpope@pbfcm.com
  7
      Caroline Djang on behalf of Interested Party Caroline R. Djang
  8   cdjang@buchalter.com, docket@buchalter.com;lverstegen@buchalter.com

  9   Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
      eryk.r.escobar@usdoj.gov
 10
      John-Patrick M Fritz on behalf of Attorney Levene, Neale, Bender, Yoo & Golubchik L.L.P.
 11   jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

 12   John-Patrick M Fritz on behalf of Debtor Escada America, LLC
      jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
 13
      Jonathan Gottlieb on behalf of Debtor Escada America, LLC
 14   jdg@lnbyg.com

 15   William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
      whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
 16
      William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
 17   whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

 18   Gregory Kent Jones (TR)
      gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com
 19
      Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
 20   mkogan@koganlawfirm.com

 21   Carmela Pagay on behalf of Debtor Escada America, LLC
      ctp@lnbyg.com
 22
      Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
 23   bk@bpretail.com

 24   Terrel Ross on behalf of Interested Party TR Capital Management LLC
      tross@trcmllc.com
 25
      Lindsey L Smith on behalf of Debtor Escada America, LLC
 26   lls@lnbyg.com, lls@ecf.inforuptcy.com

 27   Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
      rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
 28
      United States Trustee (LA)

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   ustpregion16.la.ecf@usdoj.gov

  2   Eric R Wilson on behalf of Creditor Committee Official Committee Of Unsecured Creditors
      kdwbankruptcydepartment@kelleydrye.com, MVicinanza@ecf.inforuptcy.com
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
